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                   EXHIBIT M
5/12/25, 8:38 PM      Homeland Security on X: "This woman beater, criminal terrorist, and illegal alien will never be allowed to return to the United States.…
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                                                   "He slapped me three times." Audio depicts Jennifer Vasquez Sura, wife of
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